Case 2:04-cr-20503-SH|\/| Document 35 Filed 05/17/05 Page 1 of 2 Page|D 47

IN TI~rE: UNITED sTATEs DISTRICT coURTm_ED ._-_1._@_
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 95;@§,5\' |7` p;,q 12 ;45

 

 

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UNITED sTATES oF AMERICA, W» LJ- (-’I' "‘F '~"EF‘J“ H*S

Plaintiff,
CR. NO. 04-20503-Ma

VS.

BRUCE BARNHILL,

~__/~__/~__/-._/`_/~._/\_/~_/~_/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period frmm April 2l, 2005 through June l7, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of May, 2005.

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SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

